Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 1 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 2 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 3 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 4 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 5 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 6 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 7 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 8 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 9 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 10 of 11
Case 4:21-cr-00203 Document 27 Filed on 03/04/22 in TXSD Page 11 of 11
